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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                              PIKEVILLE, KENTUCKY




     UNITED STATES OF AMERICA,                  )   Pikeville Criminal
                                                )   Action No. 13-15
            Plaintiff,                          )
                                                )   At Lexington, Kentucky
     -vs-                                       )
                                                )   April 7, 2014
     JOHN TRAVIS MILLNER,                       )   10:50 a.m.
                                                )
            Defendant.                          )




         TRANSCRIPT OF STATUS CONFERENCE HEARING PROCEEDINGS
                 BEFORE THE HONORABLE AMUL R. THAPAR
                    UNITED STATES DISTRICT JUDGE




     Court Reporter:                       PEGGY W. WEBER, RPR
                                           Official Court Reporter
                                           U.S. District Court
                                           P.O. Box 362
                                           Lexington, Kentucky 40588
                                           (859) 421-0814




     Proceedings recorded by mechanical stenography,
     transcript produced by computer.
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  1   Appearances:

  2
      On behalf of Plaintiff:              ROGER WEST, ESQ.
  3                                        Assistant U.S. Attorney
                                           260 West Vine Street
  4                                        Suite 300
                                           Lexington, Kentucky 40507
  5
      -and-                                BRUCE HEGYI, ESQ.
  6                                        AMANDA HAINES, ESQ.
                                           U.S. Department of Justice
  7                                        Capital Case Section
                                           1331 F Street NW, Third Floor
  8                                        Washington, D.C. 20530

  9   On behalf of Defendant:              PATRICK F. NASH, ESQ.
                                           NASH MARSHALL, PLLC
10                                         129 West Short Street
                                           Lexington, Kentucky 40507
11
      -and-                                KEVIN McNALLY, ESQ.
12                                         McNally & O'Donnell, PSC
                                           513 Capitol Avenue
13                                         P.O. Box 1243
                                           Frankfort, Kentucky 40601
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  1      (Whereupon, the Status Conference Hearing proceedings

  2   commenced on Monday, April 7, 2014, at 10:50 a.m., on

  3   the record in open court, as follows.)

  4                THE COURT:       Please call the case.

  5                THE CLERK:       Yes, Your Honor.

  6                Pikeville Criminal Action Number 13-15,

  7   United States of America versus John Travis Millner,

  8   called for status conference.

  9                THE COURT:       Counsel, please enter their

10    appearances.

11                 MR. WEST:       Yes, Your Honor.         Good morning.

12    Roger West and Bruce Hegyi and Amanda Haines here on

13    behalf of the United States, sir.

14                 THE COURT:       Good morning to both of you.

15                 MR. NASH:       Good morning, Your Honor.

16    Patrick Nash on behalf of John Millner, along with my

17    co-counsel Kevin McNally.

18                 THE COURT:       Good morning.

19                 MR. McNALLY:        Good morning, Your Honor.

20                 THE COURT:       Counsel, we're here because there's

21    some motions in front of me, as well as we probably set

22    this status conference as far as I can remember.

23                 I reviewed the motions, as well as the motion

24    to continue, to which obviously your response has not yet

25    been filed.
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  1                I have a -- this is dangerous to think out

  2   loud, but I'm just -- I have a generic question that I

  3   welcome your thoughts on, and then I -- and I'm -- this

  4   is thinking out loud.

  5                Is there any way -- Mr. West, I'll start with

  6   you since I would imagine the defendant would not have

  7   objection to this, but the government might -- to

  8   separate the liability and penalty phase in such a way

  9   that we try the liability phase rather soon, meaning, I

10    don't know, next four months or whatever it takes the

11    defense to be prepared?           We could keep the same jury and

12    alternates, so the alternates would have heard any.                        And

13    assuming a conviction, then have a six-month or even

14    12-month gap, where we do all the discovery.                    You know, I

15    would run a pretty tight ship at that point.                    And we do

16    the penalty phase, and we bring the jury back.                     I can

17    even bring them back quarterly to voir dire them and

18    remind them of the importance of not reading anything or

19    anything of that sort.

20                 MR. WEST:       Your Honor, I might defer to

21    Mr. Hegyi from the capital crimes unit.                  He's more

22    experienced in that type of question, sir.

23                 THE COURT:       Okay.

24                 MR. HEGYI:       If I -- if I might, Your Honor.

25    It's an interesting thought, but the -- I don't know of
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  1   anywhere where it's ever been done that way.                    There

  2   are -- to be sure, there are times -- in fact, my

  3   co-counsel Ms. Haines has one of these right now, where

  4   an individual may be sentenced to death, go through the

  5   whole process, goes up on appeal, and then the -- the

  6   death part is reversed.           So the liability is found, and

  7   now all we have to do is the death verdict again.

  8                THE COURT:       And do you get a new jury for that?

  9                MR. HEGYI:       There is a new jury that's obtained

10    for that because obviously no one anticipates years later

11    having an appeal, and the appeal being -- and the appeal

12    being successful on the guilt phase.

13                 So a new jury is impaneled, and then under

14    those circumstances then the government ends up getting

15    leeway to put on, if I may, through the mad facts, some

16    of the mad facts of the trial, because otherwise the jury

17    would be -- would be insulated and get a sanitized

18    version, and then would simply be getting a -- an

19    unrealistic view of that -- of that individual, his

20    background, and what he's done and what he's capable of

21    doing.    The --

22                 THE COURT:       But the background and what he's

23    capable of doing are all, at least as you've listed them,

24    potentially aggravating factors; right?

25                 MR. HEGYI:       They would be, Your Honor.              And --
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  1                THE COURT:       So it would just be the context of

  2   the crime.      And so my suggestion is what if we impaneled

  3   the jury of 18, 12 of them would obviously render

  4   verdict.     Now, you have to assume a guilt verdict or it's

  5   over anyway.

  6                MR. HEGYI:       Yes, sir.

  7                THE COURT:       And then -- and it seems to me that

  8   could preserve resources.            Although, I would tell the

  9   defense to prepare as if the whole thing -- I mean, in

10    some sense don't -- if we had a gap, it's essentially the

11    defense timeline with the liability kind of up front.                          It

12    seems to alleviate a lot of the concerns you have.                       I'm

13    just -- we have the same jury.              I understand you'd

14    probably want to refresh their recollection a year later,

15    and you'd have the same six alternates because they would

16    have heard all the evidence.             And it didn't -- it

17    wouldn't seem to me to be -- unless you all thought or

18    the defense thought -- a constitutional issue.                     I can't

19    think of one, if an alternate doesn't decide the guilt

20    phase but does the penalty phase.                And the reason I can't

21    is for the exact reason you've given, that we have

22    different juries decide the penalty phase all the time.

23                 MR. HEGYI:       We do.     And there are -- there are

24    cases where for one reason or another a juror on the

25    guilt phase has become incompetent, for whatever reason
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  1   to go forward, and an alternate is substituted at the

  2   penalty phase.

  3                The concern though -- I mean, I've never --

  4   I've never had this.          It's a novel approach.            But my real

  5   concern is the practical one where the -- what tends to

  6   happen, if I may, Your Honor, is if -- if a death verdict

  7   comes down on the appeals, as appeals are pending, the

  8   defense tends to go and actually like try to interview

  9   every one of the jurors.            They go to their -- they go to

10    their work, they go to their neighbors, they try to find

11    out anybody that they've spoken to, may have spoken to

12    about it, and they use those as a means to try to

13    overcome the death verdict.

14                 THE COURT:       But they wouldn't.          I mean, I

15    can -- I'm sure Mr. Nash and Mr. McNally would have no

16    problem agreeing not to tamper with the jury.                     In fact,

17    they'd go to jail if they tampered with the jury in

18    the -- while the trial was ongoing.                And this would be

19    ongoing; right?

20                 MR. HEGYI:       Yes, sir.

21                 THE COURT:       We essentially recess the trial --

22                 MR. HEGYI:       Yes, sir.

23                 THE COURT:       -- for a portion.

24                 MR. HEGYI:       And it's just that we would -- we

25    would all be in a posture where if one of the jurors,
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  1   though instructed to come forward if their child or

  2   their, you know, a relative or somebody at work came

  3   to them, if they would -- we would be relying on them

  4   100 percent for the six-month period that they

  5   wouldn't -- they wouldn't go and -- they wouldn't be

  6   speaking to anybody.          If anything ever came up in the

  7   media, they wouldn't look at it.               If somebody forwarded

  8   them something --

  9                THE COURT:       No, I understand that, but what if

10    I had quarterly status conferences with the jury where I

11    just voir dired them?           Because they're going to answer.

12    I'll tell you, it's different volunteering information

13    than directly answering the Judge's question.                     And we

14    could agree to the questions ahead of time.                    The defense

15    is going to have the same interest the government has in

16    making sure the jury isn't tampered with.                   And I think if

17    instructed and then repeatedly instructed, even every

18    three months, and voir dired, I just think once you do it

19    once, you're not going to have any issues.

20                 MR. HEGYI:       And particularly if we had a larger

21    group of alternates, if I understand Your Honor.                      It's

22    something that we've never -- I've never -- it's never

23    come up to my knowledge.            And if I -- if possible, and I

24    left my phone, of course, down with the -- with the front

25    desk.    I would -- I would ask if we could take a break at
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  1   some point and let me -- let me call back and see.                       I --

  2                THE COURT:       Well, I'm not going to ask you

  3   to -- you nor the defense to answer this question today

  4   because I'm springing it on you.

  5                I think my thought was I'm trying to alleviate

  6   the concerns raised in your motions and think of a way --

  7   and I just -- it's always dangerous to be novel in death

  8   penalty cases.        I mean, everyone just wants to check the

  9   box so that, you know, it's like a box-checking exercise.

10    Is this a problem?         No.    Is this a problem?           Could be,

11    okay, avoid it.

12                 And I think federal courts more so, we're less

13    daring just by nature than state courts who are willing

14    to -- I think most death penalty jurisprudence is created

15    through the state courts because they're willing to go

16    outside the box.

17                 So I'm not trying to create any issues, and I

18    would never ask you to answer it on the fly.                    I just

19    wanted your initial gut reaction.                And I'd want you and

20    the defense to have time to reflect on the idea before

21    forcing you to answer.           I mean, I will at some point

22    force you to answer.

23                 MR. HEGYI:       Sure.     And it makes -- and, I mean,

24    what you're saying has a certain intuitive appeal with

25    regard to the firewall issue.
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  1                 THE COURT:      Right.

  2                 MR. HEGYI:      With regard to the front-end

  3   loading we would still need to go through the fairly

  4   tedious process of getting a death-qualified jury, but we

  5   would have to do that one way or the other.                    Okay.

  6                 THE COURT:      Yeah -- no, I agree with that.               We

  7   would have to do that one way or the other.

  8                 One other -- let me -- and maybe you're better

  9   qualified, maybe Mr. West is, but it seems -- on this

 10   question.      It seems to me on the liability phase this is

 11   not a complex trial.          I mean, obviously, for speedy trial

 12   purposes, I'm not use -- I'm using the wrong language

 13   because I don't want to send the message that, of course,

 14   the entire case is complex, and there's so much at stake

 15   that I think even Congress would agree we're excepted

 16   from the Speedy Trial Act.             Before the purposes of

 17   presenting the facts in the liability phase, I don't see

 18   this as complex as I do potentially the penalty phase.

 19                 MR. HEGYI:      And Your Honor would be correct in

 20   that, in that essentially -- and defense has this.

 21   There's a video.         There's -- there are people are going

 22   into a cell for count.           Two people go into a cell, cell

 23   door close, cell doors never open.                When they go to end

 24   the count, one person in the cell is alive, one person is

 25   dead.    Mr. Millner is walking around with the knife in
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  1   his hand saying, you need to get him out of here.

  2                 So there may be some -- there have been some

  3   suggestions from the defense that there might be some

  4   self-defense component to this.               But it is -- for that

  5   extent it's not overly complicated.                 And I -- so I agree

  6   with what Your Honor is saying.

  7                 THE COURT:      Okay.

  8                 MR. HEGYI:      It would not -- it would not be an

  9   immensely complicated, nor time-consuming trial, on the

 10   liability phase alone.           I don't want me to speak for the

 11   defense on that though, Your Honor.

 12                 THE COURT:      Okay.     Thank you.

 13                 All right.      Mr. Nash, you've heard -- or

 14   Mr. McNally.       You've heard everything I kind of sprung.

 15   I know this is -- part comes out of a suggestion in your

 16   brief, although, I don't know that you contemplated this

 17   long of a gap.        The only reason I'm proposing this long

 18   of a gap is a lot of what Mr. McNally said last time --

 19   this is not in your brief.             But I think what he said last

 20   time is the primary -- a lot of the work needs to be done

 21   on the aggravators.          In other words, he brought up the

 22   quantity of aggravators.            I think it was him and not you,

 23   but I can't recall.

 24                 MR. NASH:      Well, we're of a mind that, so it

 25   could be have been either one of us.
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  1                 Certainly -- well, let me start with that last

  2   point first and then work backwards to the idea of this

  3   sort of bifurcation.

  4                 Certainly when you just look at the sheer

  5   quantity of allegation and what the defense is going to

  6   have to do to prepare defense, there are -- there's

  7   vastly more in the aggravator side than there is in the

  8   guilt/innocent side.

  9                 But I don't want -- I don't want the idea to be

 10   out there that this is a simple case even on the charged

 11   conduct.

 12                 And here's why.        I understand the government's

 13   position.      And if I were in their shoes, I would

 14   characterize it as a simple case also.                  Two guys go in,

 15   one guy comes out, simple case, end of story.

 16                 But it's far from simple as we have discovered

 17   in the limited amount of investigation that we've been

 18   able to do.       There were literally hundreds of prisoners

 19   in this range.        A good number of them were from

 20   Washington, D.C.         And as Your Honor is well aware, in the

 21   prison setting that means something.                 Geographical

 22   locations mean something to these prisoners.                    They form

 23   affiliations and groups, and then there's a group

 24   dynamic, and things are done or are not done as a result

 25   oftentimes of very complicated interpersonal conflicts,
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  1   interactions, and things like that.

  2                 We have been -- we have started to try to get

  3   to the bottom of that.           And I'm now -- I'm just now I'm

  4   talking about the charge conduct now, not any of these

  5   aggravators.

  6                 And so what that means is, is we have -- and we

  7   have already done some of this.               We have to interview a

  8   good number of those witnesses, especially the ones from

  9   D.C.    Like both my client and Mr. Smith were both from

 10   D.C.    We have to interview a good number of those people

 11   because motive and what happened and who did what to whom

 12   first and why are extremely important in this case.

 13   And that's going to be the case in regards to the

 14   guilt/innocence phase.

 15                 THE COURT:      You agree though that, I guess, the

 16   way -- still this is something you were obviously as --

 17   maybe as qualified as anyone in America to speak to, but

 18   it's not that it's complex, it's that it's discovery from

 19   your perspective intensive.

 20                 MR. NASH:      It's investigative intensive.

 21                 THE COURT:      Okay.

 22                 MR. NASH:      Discovery intensive.           And I guess it

 23   depends on how you define complex.                I mean, understanding

 24   the relationships and the hierarchy and who does what,

 25   why, and when, I mean, that's --
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  1                 THE COURT:      No, I agree.

  2                 MR. NASH:      -- one level factually that's

  3   complex.

  4                 THE COURT:      I think it's factually maybe more

  5   complex, but it seems to me a lot of the challenges in

  6   the -- a lot of what we focused on so far are the

  7   challenges related to the penalty phase.

  8                 MR. NASH:      Right.

  9                 THE COURT:      Okay.

 10                 MR. NASH:      Okay.     So that's that point.

 11                 So now backing up to Your Honor's idea of this

 12   bifurcation.       I would say I share Mr. Hegyi's initial

 13   misgivings about that.           And I agree with what he said in

 14   the first instance.          I have been involved in a state

 15   level capital case that came back for resentencing only.

 16   And I've been involved in the process of trying to figure

 17   out how do you educate a brand new juror or a cold jury.

 18   Now, this won't be a brand new jury in your mind -- in

 19   your model, but it will certainly be a cold -- a jury

 20   that's been away from the case for a number of months,

 21   maybe 12 months or more.

 22                 And so there's going to be some re-education

 23   involved on both sides, and that -- in the case that I

 24   had in state court, that was a real challenge on figuring

 25   out the parameters of that, how far each side was allowed
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  1   to go, were we just reading from the cold transcript?                          If

  2   so, what parts would we read from, what parts would we

  3   leave out?      Should we read the whole thing?                Should it

  4   be --

  5                 THE COURT:      But that's -- that's different;

  6   right, because you have a brand new jury?

  7                 MR. NASH:      Well, that was a brand new jury.

  8   But some of that certainly is going to arise here.

  9   There's going to be some refreshing that's going to need

 10   to be had, and I anticipate that both sides are going to

 11   want to refresh on different parts.                 And so there's going

 12   to be some complexity of that and some duplication of

 13   that.    So that's my first misgiving.

 14                 Secondly, I -- I agree with Mr. Hegyi.                  Again,

 15   even if Your Honor is bringing these juries in every

 16   three months to admonish them, I mean, we've still got

 17   human beings that are out there in the community for

 18   months and months and months, and the potential for just

 19   something to happen to a juror here and there increases

 20   as time goes by.         I think it's just a natural thing.

 21                 THE COURT:      No, I think that's right.             That

 22   would be my number one concern.

 23                 And let me -- let me ask you though, right,

 24   because it's -- it's interesting because -- and I'm -- I

 25   perfectly respect your misgivings.                I think at the same
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  1   time you are in your brief at least indicating a proposal

  2   of a gap in time.

  3                 The other solution is the taint team that the

  4   government rightfully points out, Courts have routinely

  5   approved.

  6                 MR. NASH:      Right.     And I'm going to let

  7   Mr. McNally speak to that part of it.                 May I make one

  8   final point?

  9                 THE COURT:      Absolutely.

 10                 MR. NASH:      The -- and we are trained as defense

 11   attorneys, and I presume probably the United States is

 12   too, in a case like this where you're putting on the

 13   guilt/innocence defense, we are trained to try to

 14   obviously anticipate what would happen in the penalty

 15   phase and to weave some of that into the guilt/innocence

 16   part.    We call it front loading on the defense side.

 17   Maybe they call it that too.              I don't know.        But we are

 18   trained to do that and to try to really, as we make our

 19   presentation to the jury, have the whole picture in mind

 20   so that where it's proper and appropriate we can front

 21   load into the guilt/innocence part, relevant parts, that

 22   are going to come up in the -- potentially come up in the

 23   penalty phase.        And that's -- and that's what we're

 24   supposed to do.

 25                 In Your -- in Your Honor's model, although we
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  1   will certainly have an idea of what we're going to be

  2   doing in the penalty phase, we still would not have fully

  3   developed it yet because the way Your Honor --

  4                 THE COURT:      Well, your -- your motion asks to

  5   preclude the government from developing it with regards

  6   to the interview of the defendant.                In other words,

  7   you're asking yourself -- I mean, this all comes, and you

  8   may be right, I mean, it's just an idea, and it's

  9   probably a bad one from what I'm hearing, but it all

 10   comes from the suggestion in your very motion, or

 11   response, that we have a gap.

 12                 MR. NASH:      Well, and if -- if I could, I'm

 13   going to defer to Mr. McNally on that.                  But just want to

 14   leave that one point about the idea that if we do have a

 15   gap, we're going to have -- our ability to properly front

 16   load some evidence is probably going to be diminished is

 17   my concern.       And that's just on the defense side.                 I'm

 18   not talking about what the prosecution is going to do or

 19   should be able to do.

 20                 THE COURT:      Okay.

 21                 MR. McNALLY:       Yes.     We made the suggestion that

 22   one alternative for you is to have a gap.                   Mr. Hegyi

 23   spoke in terms of six to eight weeks in his initial

 24   motion, and then eight to ten weeks -- eight to ten weeks

 25   in his reply.        We don't think it would need to be that
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  1   long.    And there is some precedence for those kind of

  2   gaps, smaller gaps than six months or 12 months.

  3                 We find fascinating the idea of thinking

  4   outside the box, and it's creative, but I share

  5   co-counsel's and opposing counsel's concern about that

  6   much of a gap.

  7                 THE COURT:      Okay.     Well, I mean, that answers

  8   my question.       I just -- I won't do it without your-all's

  9   approval.      I think -- but I would be more inclined -- I

 10   was not -- I would be more inclined to let the government

 11   establish a taint team in that situation; right?                      I mean,

 12   I think it's unfair to say, look, you get four weeks, and

 13   you're asking for two years, and at the same time you're

 14   turning around and telling the government, oh, you can do

 15   all your stuff in four weeks.              And it seems to me the

 16   better process is to have a taint team.                  And I understand

 17   your concerns.

 18                 But as the government points out in their reply

 19   brief, or maybe in their initial brief, you can get a

 20   team from another district and not have them involved and

 21   let them do the work.           And then at some point they --

 22   whenever the guilt/innocence is determined, they turn it

 23   over to the prosecution team.

 24                 MR. McNALLY:       We strongly object to a taint

 25   team, and it's only been done once, and that was last
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  1   week over the objection of the defense so --

  2                 THE COURT:      What do you mean it's -- I'm sorry.

  3   It's only been done once?

  4                 MR. McNALLY:       Over the objection of the defense

  5   has a taint team been appointed.               And I believe Mr. Hegyi

  6   will concede this.          It's always been done either on --

  7   this started out, Judge, as a defense idea.                    And I'll

  8   admit my project bears some responsibility for it.                       It

  9   was like sort of a creative way around immediate

 10   disclosure of confidential information by the defense.

 11   As time went on, though, it didn't work out.

 12                 THE COURT:      Why?

 13                 MR. McNALLY:       Well, for one thing, all it does

 14   is create a one-way discovery then, which is why the

 15   capital case unit wants this so badly, where the defense

 16   gives everything to government attorneys, albeit, not the

 17   ones here.

 18                 And then what happens is more prosecutors end

 19   up joining the penalty phase team once the decisions have

 20   been made about what evidence is going to be presented by

 21   either side, and we're -- we end up in a disadvantage.

 22                 THE COURT:      Because they have more prosecutors?

 23                 MR. McNALLY:       More prosecutors, one-way

 24   discovery early and --

 25                 THE COURT:      Well, but the one-way discovery is
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  1   like if I set up an independent team of lawyers, it's

  2   just another group of lawyers.

  3                 Now, whether they can add them or not, I mean,

  4   I actually think more prosecutors is an advantage for

  5   you, not a disadvantage.            I mean, I've always believed

  6   less is more when trying -- now, I mean, that's my

  7   experience.       I mean, Mr. Nash loves coming to the table

  8   and just him and the defendant and a group of lawyers

  9   over there.       He uses that to his advantage all the time.

 10   I think most good defense attorneys do.                  It's look at us

 11   and look at the big bad government.                 And you bring in

 12   more lawyers, I mean, you can definitely paint that

 13   picture.      I mean, look at all these people on the

 14   government side, and here we are two lawyers and a client

 15   trying to fight off the United States of America.

 16                 MR. McNALLY:       There also have been a couple of

 17   instances where there have been violations of the

 18   firewall, and I didn't put those in our response.                      I

 19   should have.

 20                 THE COURT:      Well, but I would -- I mean, that

 21   would be it.       If there was a violation of the firewall,

 22   that would be the end of the death penalty as far as I'm

 23   concerned, and then the government can take it up on

 24   appeal.     But they're not going to violate the firewall.

 25   I have every confidence they won't.                 And if they do, I
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  1   mean, the sanctions could be very severe.

  2                 MR. McNALLY:       I appreciate that.          Thank you,

  3   Your Honor.

  4                 But, again, until in the Montgomery case last

  5   week, no Judge had ever --

  6                 THE COURT:      Can you tell me a little bit about

  7   the Montgomery case?          I'm sorry.

  8                 MR. McNALLY:       I don't know that much about it.

  9   Mr. Hegyi apparently has been involved in it.                     It's a --

 10   it's a --

 11                 THE COURT:      Where is the case?

 12                 MR. McNALLY:       It's Memphis.

 13                 THE COURT:      Who's the judge?

 14                 MR. McNALLY:       Is it McCalla?

 15                 MR. HEGYI:      Give me one second, Your Honor.                  I

 16   attached a copy of the memorandum opinion.

 17                 MR. McNALLY:       Oh, yeah.

 18                 MR. HEGYI:      It is McCalla.

 19                 THE COURT:      Which is that?

 20                 MR. HEGYI:      It will be Exhibit E to the

 21   government's reply.          It is McCalla.         And also in the

 22   Lujan case in the District of New Mexico, which attached

 23   as Exhibit F, is another case where the judge, over

 24   defense objection, installed a firewall counsel.

 25                 MR. McNALLY:       So just -- but other than, I
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  1   think one case, he says two, I'll have to check on that.

  2   Other than those two cases it's been on defense motion or

  3   where the defense agrees to it.               And so we're going down

  4   a different path here, and it's never been tested out on

  5   appeal that I know of, so we --

  6                 THE COURT:      You mean where the defense has

  7   objected?

  8                 MR. McNALLY:       Yes.     And we are objecting.

  9                 THE COURT:      Well, I understand that.

 10                 What would happen -- in your mind how would the

 11   process work?        Give me -- give me how it would work.

 12                 MR. McNALLY:       In our mind we would have a trial

 13   at a certain date, a liability trial, and there would be

 14   a hiatus of -- I would think four weeks would be plenty

 15   of time to do a -- even if necessary.                 If not necessary,

 16   then you go right into the penalty phase.                   But if it's

 17   necessary, that government evaluators need to talk to

 18   Mr. Millner.       And, frankly, I'm skeptical of that, if we

 19   would ever waive our Fifth Amendment right here but who

 20   knows.     But if they need to --

 21                 THE COURT:      Wait, wait, I'm sorry.            You would

 22   ever waive your Fifth Amendment right.                  You mean

 23   post-guilt you wouldn't allow them to talk to him?

 24                 MR. McNALLY:       Possibly.       I don't -- we can't

 25   say at this point.          That's possible if we decided that
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  1   that's not the path we want to go.

  2                 THE COURT:      Oh, if it's not -- okay.             If it's

  3   not the path you want to go, but you agree if it is the

  4   path you pursue, then Cheever and the cases that the

  5   government cites controls that.

  6                 MR. McNALLY:       I agree that if we call mental

  7   health experts who have interviewed Mr. Millner, the

  8   defendant, and are basing their testimony on an interview

  9   of Mr. Millner, then they have a reciprocal right under

 10   existing case law to do the same.

 11                 THE COURT:      Okay.

 12                 MR. HEGYI:      Your Honor, if I could, I just want

 13   to make sure we're not -- we're not passing here.

 14   Because, with all due respect, we may -- we want to make

 15   sure we're clear on the record here.                 Because if the

 16   defense counsel -- what he just said would leave him open

 17   to do precisely this.           He would have a group of experts

 18   that would interview Mr. Millner.                They would then feed

 19   their reports to some other expert, and that expert would

 20   testify.      In which case he would now say, he could now

 21   stand in front of you and say, well, Your Honor, I never

 22   said we wouldn't do that.

 23                 And I think that under -- I think under Cheever

 24   if they're going to put his mental health in issue and

 25   anybody has interviewed him and any defense expert is
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  1   going to rely on that, I think under a fair reading of

  2   the Cheever case we should have a right to have our

  3   people as well.

  4                 THE COURT:      And I think that's right.             But he's

  5   not saying what you're -- you're speculating.

  6                 MR. HEGYI:      I am.     I am, Your Honor because --

  7   I am, and I grant you that I am.               I'm just highlighting

  8   that for the Court at this point because it seemed that

  9   counsel was choosing his words very carefully.                     And I

 10   want to make -- so I wanted to flush this out sort of

 11   right now.

 12                 The other issue, if I may, Your Honor, that I

 13   want to make sure that -- because Your Honor is going

 14   through this very methodically, is the whole concept of

 15   Atkins.     And if we're going to do Atkins, we're not going

 16   to do Atkins, then that would be, I would urge

 17   Your Honor, there is an essence, a universe of cases with

 18   the one exception that they found in the Eastern District

 19   of Virginia in 2005, which we can't find.                   It's been

 20   followed -- in fact, it wasn't followed just last year in

 21   the Eastern District of Virginia where Atkins went to the

 22   jury.

 23                 Every other case that I know of that's a

 24   federal case, it's been presented, it's done by the

 25   judge, and it's done pretrial.
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  1                 And the emails that we attached and I think

  2   their filings and our filings would indicate to

  3   Your Honor that there is at least -- there is at least an

  4   effort by the defense to keep that as an open issue, like

  5   when they would raise that, and who ought to decide that,

  6   should that be a jury or should that be --

  7                 THE COURT:      Well, they didn't ask that a jury

  8   decide it.      They just indicated that it had been done.

  9                 MR. HEGYI:      Yes, Your Honor.          And then they

 10   carefully indicated in their response that they had not

 11   made a decision pretrial of that -- that pretrial they

 12   didn't think that they would be raising it.                    And they

 13   shoehorned that phrase in pretrial, which -- which is a

 14   pregnant phrase suggesting that they're not saying what

 15   they're going to do after the pretrial phase, and they

 16   might try to raise it in the gap between the guilt phase

 17   and the penalty phase, and then come in and ask

 18   Your Honor to make the decision about mental retardation

 19   before the beginning of the penalty phase, or else try it

 20   before the jury.

 21                 THE COURT:      Well, I mean, I'll tell you, if

 22   we're doing -- if we're doing a year gap, I would

 23   probably be inclined to let them do that.                   With a

 24   four-week gap as they're proposing, I would never be

 25   inclined to let them do that.              They would have to
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  1   indicate -- I mean, they can't have their cake and eat it

  2   too, just like you can't.            I mean, at some point they've

  3   got to agree to a workable process.

  4                 And I guess I don't have -- let me ask you

  5   this.    Would the taint team -- to put this back on you.

  6                 MR. HEGYI:      Yes, Your Honor.

  7                 THE COURT:      Would you have as much concern?                  I

  8   mean, then you're not getting surprised in the way you're

  9   talking about.

 10                 MR. HEGYI:      Correct.       If we have a taint team

 11   in place, then the government's -- the government's level

 12   of concern is reduced dramatically, because counsel

 13   indicating like four weeks.             And I have to -- if I may,

 14   Your Honor, if we think this through.                 We don't know what

 15   they're going to say.           And we -- some of these cases

 16   where they've alleged mental retardation, they go with

 17   what are called PET scans.             They're like MRIs of the

 18   brain.     Others they don't.          Sometimes they bring in

 19   psychiatrists.        Sometimes they bring in psychologists.

 20                 I attached the opinion from the Chastain

 21   Montgomery case so Your Honor could see how in that case

 22   the Court actually heard testimony from, I think, over

 23   20 what are called percipient witnesses in that case, and

 24   it was very important in informing the judge of whether

 25   the defendant had met his burden.
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  1                 And so for the defense to suddenly spring up

  2   and say, you know, well, four weeks is plenty, well, we

  3   haven't -- if they're not raising it, why are we -- how

  4   are we -- what are we investigating?                 There's nothing for

  5   us really to investigate yet.

  6                 And if they jump up -- and then you'll see in

  7   the Chastain Montgomery's and other cases where they come

  8   up with five experts, six experts.                You know, most times

  9   judges cut that off, and you get one or two.                    But if they

 10   come up with -- and, again, we have no way of knowing

 11   this generally.        And -- but if they come up with that

 12   many, we don't necessarily know what -- what experts to

 13   respond with, what specialties.

 14                 THE COURT:      No, I understand that.

 15                 MR. HEGYI:      Okay.

 16                 THE COURT:      Can I ask you a different question?

 17                 MR. HEGYI:      Sure.

 18                 THE COURT:      Which is if you had a taint team,

 19   you agree at that point four weeks is sufficient?

 20                 MR. HEGYI:      Yes.     Well, if the taint team is --

 21   if the taint team can get started, I think a four-week

 22   gap would be sufficient.             In fact, I think that would --

 23   we wouldn't even need a four-week gap.                  If the taint team

 24   is put in place, and it's put in place, for instance, as

 25   the judge did in the Northern District of Oklahoma just
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  1   last month, and it's done and defense counsel there

  2   agreed, a very experienced defense counsel agreed, he

  3   would give over to a taint team the mental health stuff.

  4   Eight to nine months before the trial was to begin, he

  5   would give it over.          They can then work stuff out.               If

  6   there are issues, it would go under seal to Your Honor.

  7   The government counsel would have no -- we wouldn't have

  8   any role.      The trial team would have no role in that, and

  9   it would go forward in that manner.

 10                 The government would then be making its

 11   disclosures to the defense as well.                 And then at the

 12   time, if assuming we get to the guilt phase, and there is

 13   a death-eligible verdict in the guilt phase, and we

 14   switch to the penalty phase, either we could move right

 15   into that and understand penalty phases usually only last

 16   a week or less.        They're usually not that drawn out,

 17   under ordinary circumstances.              Then we could go

 18   immediately to that, invite the taint counsel to come to

 19   counsel table and be prepared to cross-examine their

 20   witnesses and to put on the government's mental health

 21   persons.      Or we could have a week-long gap perhaps, and

 22   that might give the government's trial attorneys an

 23   opportunity to get up to speed on what the taint counsel

 24   has already put in place.            We would have that

 25   alternative.
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  1                 Did that answer Your Honor's question?

  2                 THE COURT:      That does.       That did.

  3                 Can I ask you one other question?

  4                 MR. HEGYI:      Of course, Your Honor.

  5                 THE COURT:      You've -- so in your motion, you've

  6   moved to preclude the defense from raising the Atkins

  7   defense.

  8                 MR. HEGYI:      Right.

  9                 THE COURT:      And I'm hesitant to do that because

 10   I think it's a little unfair at this stage of the

 11   proceedings.       I recognize what you said.              Look, they've

 12   had four years.        They were appointed in 2009.

 13                 The reality is I think it's a little unfair to

 14   dive into what they did during that period.                    It's just a

 15   process, which the Court wasn't involved in to know

 16   enough.     It would be one thing if they had two years in

 17   front of me.       It's another thing four years where I'm not

 18   even involved for the Court to past judgment on the

 19   timeliness.       I think they've indicated at this time, and

 20   I think they carefully used those words as you indicated

 21   in your reply and maybe in your motion.                  I'm sorry I

 22   can't distinguish the briefs at this point.

 23                 But I wouldn't be inclined to preclude them --

 24   the process of appointing a taint team and getting

 25   involved in that would give -- it seems to me would
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  1   prejudice the government less than if I precluded them,

  2   which would prejudice them more.               I don't know if that

  3   makes sense, but I think the balancing of the equity, so

  4   to speak.

  5                 MR. HEGYI:      It would depend on if they were

  6   really going to bring an Atkins claim or it was going to

  7   be an Atkins -- what I might call an Atkins-like claim.

  8   In other words, he's not mentally retarded.                    Ladies and

  9   gentlemen of the jury, we're not claiming he's mentally

 10   retarded, but we're claiming that he is low functioning.

 11   And, therefore, you know, in the scheme of things you

 12   shouldn't hold him quite as morally responsible as you

 13   might someone who had an I.Q. of 110 or 120.                    And,

 14   therefore, take that into consideration essentially as a

 15   mitigator and don't -- don't come back with a death

 16   verdict.

 17                 And if they were going to do that, not -- not

 18   ask for an exemption from the death penalty because he's

 19   mentally retarded, it would still involve a lot of the

 20   same things, a lot of the same testing, a lot of the same

 21   experts.      But, again, taint counsel could handle that if

 22   that's -- if that's where we're going to go.                    And if need

 23   be and they were going to have percipient witnesses,

 24   which seems to be something that can take a fair amount

 25   of time, that, you know, maybe we wouldn't -- there
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  1   wouldn't be a need for percipient witnesses at that stage

  2   because they wouldn't be trying to preclude it.                     They

  3   would simply be saying, you know, I'm doctor so-and-so,

  4   and I've tested him, and, you know, let me tell you what

  5   the test scores were.

  6                 So I think it would be -- it would be still

  7   very helpful to have a taint or firewall counsel, and it

  8   would make the whole process go more smoothly.

  9                 THE COURT:      Okay.      All right.      Mr. Nash or

 10   Mr. McNally, anything else?

 11                 MR. McNALLY:       Well, I mean, just -- our

 12   credibility with you is important.                And references to

 13   scenarios that might occur or occurred in other cases in

 14   Mr. Hegyi's mind, can be misleading.                 I mean, the jury

 15   tampering comment, or the fact that we would take an --

 16                 THE COURT:      The jury tampering comment I

 17   disregarded as I -- I mean --

 18                 MR. McNALLY:       Or the whole idea.

 19                 THE COURT:      But you -- I mean, wait a minute.

 20   You also -- don't -- I mean, this isn't a one-way street.

 21   That's a little unfair because you implied that

 22   government counsel were going to breach the firewall.

 23   So, I mean, that goes both ways.               He's -- you're

 24   speculating, and he's speculating.                I get it.

 25                 MR. McNALLY:       Okay.
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  1                 THE COURT:      I mean, I'm not an idiot sitting up

  2   here.     I may not be that intelligent, but I get the

  3   general gist of, you know, you-all are not impugning each

  4   other's integrity.          You're just saying, look, this has

  5   happened in certain cases; and, Judge, you've never tried

  6   a death penalty case.           Maybe you should understand the

  7   risks before you assess.

  8                 It's like my idea.          I throw out let's have a

  9   year gap, and Mr. Nash rightfully comes up with a number

 10   of risks.      I don't view that as saying I'm incapable.

 11   He's just saying, look, Judge, these are things you may

 12   not have thought of in the process.                 That's all he's

 13   saying.     It's all you're saying.

 14                 I'm not viewing it as impugning each other's

 15   integrity or saying, look, they're just trying to set up

 16   this taint team so they can break the firewall.                     I mean,

 17   you're just saying, look, that's a risk, and so I can

 18   address that risk.

 19                 Their risk of jury tampering, I can address

 20   that risk.      I mean, these are things I can address, even

 21   though I don't expect either side to do them.

 22                 MR. McNALLY:       Yeah.     My only point was going to

 23   be that we weren't going to have somebody interview him

 24   and then pass it to some other expert.                  I mean, that was

 25   one of the scenarios.           That's all.
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  1                 THE COURT:      Okay.     Well, you've put that to

  2   rest.

  3                 MR. HEGYI:      And, Your Honor, while we're

  4   putting things to rest, just very quickly because I know

  5   your time is precious.           But I was not suggesting they

  6   would send somebody out.            I meant after the fact when

  7   people have been sentenced to death, what -- what

  8   appellate counsel seems to do is go and try to interview

  9   the jurors.       Not that they're doing anything wrong.                  But

 10   the sentence is already done.              But they try to find

 11   instances where the juror may have had a conversation,

 12   didn't tell it to the Court, and then --

 13                 THE COURT:      Oh, I see.

 14                 MR. HEGYI:      -- and then on appeal use that as a

 15   basis to overturn it.

 16                 THE COURT:      So you're saying that's the danger

 17   of the gap?

 18                 MR. HEGYI:      Yes, it is.

 19                 THE COURT:      Okay.

 20                 MR. HEGYI:      And honestly, Your Honor, there was

 21   no intent whatsoever to indicate I thought they would do

 22   anything like that in the gap at all.

 23                 THE COURT:      Okay.

 24                 MR. McNALLY:       Your Honor, if I could, one

 25   thing on another topic just to correct the record
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  1   because we didn't get to reply to their reply that

  2   this -- Dr. Cunningham has never met the client, nor has

  3   he ever been to USP McCreary.              That was in their reply.

  4                 THE COURT:      The list of the two doctors, I

  5   can't remember their names.

  6                 MR. McNALLY:       Right.

  7                 THE COURT:      All right.       Let me just walk

  8   through and just quickly what I think is in front of me.

  9                 First is the motion in limine to preclude him

 10   from adopting an Atkins defense or raising the matter of

 11   his mental condition.           I think I addressed that, and I

 12   will deny that without prejudice to it being raised

 13   later.     But I think right now it is a little premature.

 14                 The second is a pretrial decision on the Atkins

 15   issue, and I guess, Mr. Nash or Mr. McNally, do you -- I

 16   didn't understand you to be fully taking objection with

 17   that.    You just didn't want it done now.                 Is that

 18   correct?

 19                 MR. McNALLY:       If I understand the Court, yes,

 20   Your Honor.

 21                 THE COURT:      In other words, all you're saying

 22   is, look, we could raise this at a later date, Judge,

 23   just give us -- we're not saying we're going to raise it,

 24   but if information comes to us that necessitates us

 25   raising it on our client's behalf, of course you can
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  1   decide it pretrial at some point, but don't do it today.

  2   Is that fair, or am I missing --

  3                 MR. McNALLY:       We exercise our best judgment on

  4   January 27th that we're not raising a pretrial Atkins

  5   claim, and that situation hasn't changed as of today.

  6   But we're lawyers, so we don't know what's going to

  7   happen.

  8                 THE COURT:      Right.      So here's what I would say,

  9   and you-all tell me if I'm wrong, anyone that wants to.

 10   You don't have to speak at all.

 11                 It seems to me premature for me to even

 12   determine the timing of any Atkins hearing without the

 13   defense raising it.          And while you've indicated you

 14   wouldn't raise it, I'm willing to leave open the idea

 15   that if you discover information later on that leads you

 16   to believe you have to raise it to protect your client's

 17   interest, that you will notify the Court immediately.

 18                 And at some point I'm going to set a deadline,

 19   but I'm not doing it today.             In other words, at some

 20   point I'm going to set a drop-dead deadline which says,

 21   look, unless you come into something that just couldn't

 22   have been speculated about, that's it, the deadline is

 23   set.

 24                 Is that fair?

 25                 MR. McNALLY:       Yes, Your Honor.
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  1                 THE COURT:      Okay.     I'd like the government to

  2   respond -- and I know you haven't had time to -- to the

  3   motion to set a new schedule.              I'm not against setting a

  4   new schedule, but I think it's a fair point that if we

  5   are to set a pretty -- a schedule, we should set somewhat

  6   of a more comprehensive schedule than we set before,

  7   which I don't know where you raised, but I know -- maybe

  8   I'm combining your motion and their motion because you

  9   asked for certain deadlines in your motion, and they've

 10   asked for time periods in theirs.

 11                 Let me give you-all a suggestion on that, which

 12   is I don't know how willing you're -- you are to do this.

 13   But we do this in civil cases, and I hate to ever bring

 14   anything civil into criminal context just because the

 15   criminal context always works better I think.                     But that

 16   is that a meet and confer where you-all meet and see if

 17   you-all can work out the schedule.

 18                 And I'll tell you, if you-all work out a

 19   schedule, I'm going to defer to you.                 I think the lawyers

 20   in this case are excellent, and I know I've had a lot of

 21   experience with Mr. West and Mr. Nash, and I couldn't

 22   imagine two better lawyers to be doing this from the

 23   Court's perspective in the way they prepare and the fact

 24   that I've never found them to waste time.

 25                 In other words, so if you-all can agree, then
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  1   I'm going to defer to you.             If you can't, what I would

  2   like -- and maybe what I'll do is this, and you tell me

  3   if you have any objection to this, Mr. Nash.                    Is that

  4   I'll deny without prejudice your motion to continue, have

  5   you-all meet and confer and prepare one document, if it

  6   isn't too cumbersome, on dates you agree with and then

  7   dates you want the Court to decide.

  8                 MR. NASH:      I think that would be fine, Judge.

  9                 THE COURT:      All right.       Then the last thing is

 10   that I'd like to take under advisement and is the taint

 11   team idea.      And I'm sorry to do this.             I would love to

 12   give you a ruling today.            I just want to think about it

 13   and reflect on it a little more.

 14                 I can tell that you as an initial matter, I

 15   think it's a good idea as long as it's strongly policed

 16   by the Court, and I have no problem doing that.                     And I

 17   understand, look, problems have happened in every kind of

 18   case imaginable, but I think we can put in place

 19   protections to make sure there aren't any problems.

 20                 I'd like to address specifically any concerns

 21   the defense has.         The first concern is the taint team

 22   won't prevent the taint team, and I think I can address

 23   that concern with the understanding that if the wall is

 24   breached, the death penalty would be taken off the table.

 25   I think that takes care of that concern.
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  1                 Mr. Nash or Mr. McNally, I think you would

  2   agree with that; right?            It would be hard pressed to say

  3   you wouldn't.

  4                 MR. McNALLY:       Can't complain about that.

  5                 THE COURT:      Okay.     And then the second concern

  6   is the number of government counsel; correct?

  7                 MR. McNALLY:       Yes, Your Honor.

  8                 THE COURT:      And do you mean the number of

  9   government counsel sitting on that side at trial?

 10                 MR. McNALLY:       No.    I mean the -- the army of

 11   prosecutors, whether they're at the table or working on

 12   motions during trial, they're part of the effort, and

 13   it's one sided.        And it's not a level playing field.

 14                 THE COURT:      They're always going to have an

 15   army.

 16                 Let me ask you this.           I mean, it's just the

 17   reality; right?        Is it ever a level playing field?                 I

 18   mean, just to be fair, I mean, I know we say as Courts,

 19   look, this is fair.          Yeah, it's fair, but it's never

 20   level.     I mean, any Court that says that is putting

 21   blinders on.       I mean, the government is always -- they've

 22   got essentially unlimited resources because they can take

 23   our money and hire another attorney and sit them there.

 24   Right?

 25                 MR. McNALLY:       Yes, Your Honor.
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  1                 THE COURT:      Okay.     Let me ask you this just

  2   to -- and I don't mean to throw you a curve ball.                      If we

  3   were to set up a taint team, could I -- and I don't know

  4   the answer.       You know, Mr. McNally, better than anyone.

  5   Could I appoint a third attorney for the defense to deal

  6   with the government's taint team?                Does that make sense?

  7   In other words, could you and Mr. Nash brainstorm and

  8   say, here's a woman or man we would want that, Judge, if

  9   you did this, here's an attorney we can kind of turn over

 10   this process to so we don't get distracted like they're

 11   not getting distracted, and we have someone that can --

 12   or maybe bring them in at the liability phase, and you

 13   say -- and Mr. Nash says, you know what, Mr. McNally is

 14   the expert on the penalty phase.               I'll try and fire off

 15   the liability wall and give me the other attorney, and

 16   we're going to move Mr. McNally to that phase.

 17                 I'm not saying you have to.             All I'm saying is

 18   could that alleviate some of your concerns?                    Because I

 19   don't see the concern at trial.               Now, maybe you can lay

 20   it out in writing to me in a way that I'm not seeing it.

 21   But I actually think it's an advantage for the defense

 22   for the government to have more lawyers.

 23                 In fact, when I was a lawyer as a prosecutor, I

 24   always -- I didn't want anyone sitting next to me.                       I

 25   didn't even -- I liked being over there at this big table
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  1   all alone so at least I could remove some of that

  2   perception from the jury that here's the big bad

  3   government.       Here I am with a yellow pad, right, no

  4   binder, nothing else, just sitting there by myself.

  5   I think that conveys a message that's different than

  6   20 attorneys sitting over there.

  7                 MR. McNALLY:       That wasn't a curve ball.             That

  8   was a knuckle ball, and I'm not used to judges being this

  9   creative.      I think it's -- I think the Court makes some

 10   interesting points.

 11                 That would -- yeah, I suppose, Judge, that

 12   would assuage some of our concern about the firewall.

 13                 But we still have to object to the whole --

 14   to -- to amending 12.2, which says nothing about

 15   firewalls and requiring early disclosure on the part of

 16   the defense.       It depends on what the schedule is.                 So

 17   there's a lot of ifs here.             But, yeah, I think that

 18   certainly would assuage some concern we have about being

 19   outnumbered, vastly outnumbered.

 20                 THE COURT:      Okay.     But the two -- okay, so

 21   there's three concerns you've raised now.                   One is more

 22   attorneys at trial.          Just so I understand it.             One is the

 23   rule doesn't permit it.            Is that fair?        Is that a fair

 24   way of me saying it?

 25                 MR. McNALLY:       Yes, Your Honor.
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  1                 THE COURT:      Okay.     And give me the third again.

  2   I went blank.        Oh, the third was the taint, that actually

  3   is tainted, and I've addressed that concern I think.

  4                 MR. McNALLY:       Yes.     It's the -- it's the taint

  5   lawyers joining the prosecution team.                 It's -- or the

  6   early --

  7                 THE COURT:      Prematurely joining the prosecution

  8   team?

  9                 MR. McNALLY:       I'm sorry?

 10                 THE COURT:      Oh, there's both.          Them joining at

 11   all and then the premature joining?

 12                 MR. McNALLY:       Right.

 13                 THE COURT:      Okay.

 14                 MR. McNALLY:       And then -- and then the kind of

 15   one-way discovery about mental health evidence that is

 16   required to be disclosed.

 17                 THE COURT:      Let me ask you this.           Why couldn't

 18   I require reciprocal discovery within the process of

 19   that, that if I'm going to require you to disclose your

 20   experts after they have their experts, they have to

 21   disclose them back to you?

 22                 MR. HEGYI:      That is what happens, Your Honor.

 23                 THE COURT:      Okay.

 24                 MR. HEGYI:      It will be.

 25                 THE COURT:      So it's not one way?
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  1                 MR. HEGYI:      It is not one way.

  2                 MR. McNALLY:       Well, it's not one way.            It's

  3   just -- it's early disclosure that 12.2 doesn't talk

  4   about.

  5                 MR. HEGYI:      Advisory committee notes,

  6   Your Honor, suggest that -- this particular type of

  7   process.      It doesn't foreclose it.            The advisory

  8   committee notes suggest this is just a -- these are

  9   guidelines, and we realize there's going to be some

 10   tinkering that needs to be done.               And this is, in fact,

 11   what is regularly done by other Courts who have struggled

 12   with the same argument.

 13                 THE COURT:      Okay.

 14                 MR. McNALLY:       But those are our concerns, yes.

 15                 THE COURT:      Okay.     Well, then what I want to do

 16   is just take the taint team portion of this under

 17   advisement.

 18                 You-all are going to meet and confer about the

 19   deadlines.

 20                 I'm going to deny the motion in limine to the

 21   extent it seeks to preclude the Atkins defense.

 22                 I would like you-all to meet and confer and

 23   set, if you can, in that grand scheme of deadlines,

 24   whether we can set kind of an Atkins deadline, a final

 25   Atkins deadline.
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  1                 In other words, you-all don't at this time

  2   think you're going to raise it, but if you discover

  3   subsequent evidence, I think it's a fair point, and you

  4   decided to raise it, there has to be some end to the

  5   process.      And so when would that ultimate end be?

  6                 And then -- okay.         And then we all agree that

  7   if there is -- if Atkins ultimately is raised, then we

  8   can decide when I should decide it.

  9                 Okay.    Anything else?         Did I miss anything?

 10                 MR. NASH:      The -- we're contemplating, and I

 11   think we're all in agreement, that it's a good idea to

 12   get together and try to -- the parties try to formulate a

 13   proposed schedule as much as we can, and then submit to

 14   you what we've agreed on, which will hopefully be

 15   everything.

 16                 THE COURT:      Right.

 17                 MR. NASH:      And if not, what we disagree on.

 18   Can you give us a deadline to make that submission to you

 19   so we can --

 20                 THE COURT:      I sure can.        Let me ask you this.

 21   What works?

 22                 MR. NASH:      May I have a second?

 23                 THE COURT:      Yeah.

 24                 MR. McNALLY:       Judge, could I address something

 25   else while they're conferring?
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  1                 THE COURT:      Sure.

  2                 MR. McNALLY:       John has very poor eyesight, and

  3   he hasn't had glasses in two months, and we've gone back

  4   and forth trying to get him glasses.                 The marshals have

  5   been very cooperative.           They got him an eye exam.             But

  6   we can't get the prescription filled because they need

  7   to measure the distance between his pupils, and there's a

  8   Lens Crafter technician here, and we wonder if they could

  9   do that today.

 10                 THE COURT:      Did you check with the marshals?

 11                 U.S. DEPUTY MARSHAL:           I'd be happy to

 12   facilitate that, Your Honor.

 13                 THE COURT:      Great.

 14                 MR. NASH:      It's just going to be one

 15   measurement.

 16                 THE COURT:      All right.       Thank you very much.

 17                 Mr. Millner, I should have said good morning.

 18   Good morning.

 19                 DEFENDANT MILLNER:          Good morning.

 20                 MR. NASH:      Your Honor, could we make that --

 21   back to the scheduling.            Could we make that submission to

 22   you by on or before May 1st?

 23                 MR. WEST:      That's fine, Your Honor.

 24                 THE COURT:      That's fine with me.           Okay.     Great.

 25                 MR. WEST:      If counsel is available, we'll meet
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  1   for just a few moments after this hearing, Judge, if

  2   they're both available.

  3                 MR. NASH:      Yes.

  4                 THE COURT:      Okay.     That's great.

  5                 What about -- so the motion to continue you

  6   don't have to respond to.             It's denied without prejudice.

  7   We'll address it through this filing.

  8                 The -- the motion in limine is -- as I

  9   mentioned, we'll lay it out in the minute entry order.

 10                 But the only thing I think I'm taking under

 11   advisement is the taint team issue.

 12                 Okay.    My final question, and then I'm fine.

 13   I'd like -- what I won't do is set another status

 14   conference.       I'll expect you-all to include that in your

 15   filing as to when you'd like another one.

 16                 I'm happy to continue to do this in Lexington.

 17   I don't know if you decided on venue.                 Have you?       Or I

 18   shouldn't call it venue.            But what courthouse, since the

 19   venue remains the same technically by law.

 20                 MR. WEST:      I don't think we've actually

 21   discussed it, but the United States's position is

 22   Lexington is the best place to both conduct the trial and

 23   also for the security of witnesses that are going to come

 24   in.    I'm anticipating both the United States and defense

 25   counsel will have a number of witnesses who are inmates.
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  1   Consequently, the transportation from their place of

  2   holding is easier here in Lexington.                 I imagine some are

  3   going to be held at the local penitentiary as opposed to

  4   Fayette County jail, sir.

  5                 THE COURT:      Okay.

  6                 MR. NASH:      I think the two options that we had

  7   previously discussed were Lexington or potentially

  8   Covington, which in my mind transportation is probably

  9   about the same either place.

 10                 Bottom line is and one of the things on our

 11   check-off list we needed to do is do some demographic

 12   research.      And, frankly, we've been so bound up with this

 13   budget process that we've not -- that's not something

 14   we've done yet.        So we're -- the bottom line is if the

 15   Court will allow, we're not quite ready to submit to

 16   issues of where it occurs.

 17                 THE COURT:      Yeah.     I don't need to know until

 18   we get to the point where we're talking about the jury

 19   questionnaire, but --

 20                 MR. NASH:      Yes, sir.

 21                 THE COURT:      -- I just don't want it to linger

 22   out there forever and us to lose sight that that's an

 23   issue we have to decide.            I don't -- as I mentioned

 24   before, I don't have any problem with Lexington or

 25   Covington.
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  1                 MR. NASH:      It is on our list, Your Honor, and

  2   it's just one of several things that we've not gotten to

  3   yet.

  4                 THE COURT:      Okay.     All right.       Anything else?

  5                 I -- will you share that with me once you do

  6   the demographic research?             I'd be curious as to what it

  7   comes back.       Because I have my own preconceived notions,

  8   but I'm not sure they're right.               I can think of reasons

  9   from a defense perspective that Covington would be

 10   better, and I can think of reasons that Lexington would

 11   be better, and I don't know that I'm right as to either

 12   of them.

 13                 MR. NASH:      We would be happy to share it,

 14   Your Honor, yes.

 15                 THE COURT:      Okay.     I think venue-wise -- or at

 16   least not venue but courthouse location-wise from a

 17   defense perspective, those are -- in Kentucky I would

 18   think those are two of the three best.                  But that's also

 19   speculation on my part.            And the third one is not

 20   available to you without a change of venue.

 21                 MR. NASH:      Yeah, Jefferson County obviously

 22   would be a third.         Yeah, I would agree, Your Honor.

 23                 THE COURT:      What did you say would obviously?

 24                 MR. NASH:      I would say that Jefferson County --

 25                 THE COURT:      Right.
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  1                 MR. NASH:      -- would be the third.

  2                 THE COURT:      Okay.     At least I was right about

  3   that, or at least our speculations are the same.

  4                 Anything else?

  5                 MR. WEST:      No sir.      Thank you.

  6                 MR. NASH:      Nothing further.

  7                 THE COURT:      Okay.     Thank you-all very much, and

  8   thank you for indulging me on my crazy thoughts.                      I'll

  9   continue to, I'm sure, bring them up, and you-all

 10   continue to have good reasons to put me back where I

 11   belong.

 12                 So I'll look forward to seeing you-all soon.

 13                 And I appreciate all the thoughtfulness in the

 14   briefing and the good briefing in this case.                    It's always

 15   nice to get very well thought out briefs.

 16                 So have a good day, and I'll look forward to

 17   the filing May 1st.

 18                 MR. NASH:      Thank you.

 19                 THE COURT:      Thank you.

 20                 And we'll get a written opinion on the taint

 21   team issue out at some point.

 22                 MR. NASH:      Very well.       Thank you.

 23                 MR. HEGYI:      Thank you, Your Honor.

 24                 THE COURT:      Thank you.       Some point soon.

 25   Hopefully by May 1st.           How about that?
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  1                 Thank you.

  2          (Whereupon, the Status Conference Hearing

  3   proceedings concluded at 11:50 a.m.)

  4                            C E R T I F I C A T E

  5          I, Peggy W. Weber, certify that the foregoing is a

  6   correct transcript from the record of proceedings in the

  7   above-entitled matter.

  8

  9
      March 13, 2015                            s/Peggy W. Weber
 10      DATE                                   PEGGY W. WEBER, RPR

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